Case 19-20543-GLT           Doc 45     Filed 08/16/19 Entered 08/16/19 11:45:01                   Desc Main
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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                            : Bankruptcy No. 19-20543-GLT
                                                  :
JESSICA L. JELLEY                                 : Chapter 7
                                                  :
                            Debtor                :
                                                  :
   Natalie Lutz Cardiello, Trustee                :
                                                  :
          Movant                                  :
                                                  :
     v.                                           :
                                                  :
   United States of America, Internal             :
   Revenue Service; Commonwealth of               :
   Pennsylvania, Department of Revenue;           :
   County of Allegheny; Moon Township;            :
   Moon Township School District; Jordan          :
   Tax Service; Keystone Collections Group,       :
   Weiss Burkard Kramer LLC and                   :
   Mortgage Electronic Registration Systems       :
   Inc., as a Nominee for Mortgage Lenders        :
   of America, LLC                                :
                                                  :
          Respondents                             :

                                          SUPPLEMENTAL
                                    CERTIFICATE OF SERVICE
                                                    of
                    Notice of Intent to Sell and of Hearing and Response Deadline
                                                   and
                         Motion to Sell Real Estate Free and Clear of Third
                    Party Interests, Liens, Claims, Charges and/or Encumbrances


I certify under penalty of perjury that I served or caused to be served the above captioned pleading(s) on
the parties at the address specified below or on the attached list on August 16, 2019.

The type(s) of service made on the parties (first class mail, electronic notification, hand delivery, or
another type of service) was: first class mail.


Service of Notice of Intent to Sell and of Hearing and Response Deadline and Motion to Sell Real
Estate


See Exhibit A
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Service of Notice of Intent to Sell and of Hearing and Response Deadline


See Exhibit B


EXECUTED ON: August 16, 2019

                                               By:   /s/Natalie Lutz Cardiello
                                                     Natalie Lutz Cardiello
                                                     PA ID# 51296
                                                     107 Huron Drive
                                                     Carnegie, PA 15106
                                                     ncardiello@comcast.net
                                                     (412) 276-4043
          Case 19-20543-GLT
PARTIES DESIGNATED AS "EXCLUDE" WEREDoc
                                     NOT 45
                                         SERVEDFiled 08/16/19
                                                VIA USPS         Entered
                                                         FIRST CLASS MAIL 08/16/19 11:45:01      Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document       Page 3 of 4
INTERNAL REVENUE SERVICE                 THE ATTORNEY GENERAL OF THE UNITED      UNITED STATES ATTORNEY S OFFICE
PO BOX 7346                              STATES                                  WESTERN DISTRICT OF PENNSYLVANIA
PHILADELPHIA PA 19101-7346               CIVIL DIVISION BANKRUPTCY SECTION       700 GRANT STREET SUITE 4000
                                         US DEPARTMENT OF JUSTICE                PITTSBURGH PA 15219
                                         WASHINGTON DC 20530




OFFICE OF THE UNITED STATES TRUSTEE      PENNSYLVANIA DEPARTMENT OF REVENUE      CHRISTOS A KATSAOUNIS ESQUIRE
LIBERTY CENTER SUITE 970                 DEPARTMENT 280946                       OFFICE OF THE CHIEF COUNSEL
1001 LIBERTY AVENUE                      ATTN BANKRUPTCY DIVISION                DEPARTMENT 28106
PITTSBURGH PA 15222                      HARRISBURG PA 17128-0946                HARRISBURG PA 17128




COURTNEY OLSON                           MORTGAGE ELECTRONIC REGISTRATION        JOHN WEINSTEN ALLEGHENY COUNTY
1052 HILAND AVENUE                       SYSTEMS INC                             TREASURER
FIRST FLOOR                              1818 LIBRARY STREET                     ROOM 109 COURTHOUSE
CORAOPOLIS PA 15108                      SUITE 300                               436 GRANT STREET
                                         RESTON VA 20190                         PITTSBURGH PA 15219-2497




JORDAN TAX SERVICE                       CATHERINE TRESS TAX COLLECTOR           KEYSTONE COLLECTIONS GROUP
102 RAHWAY ROAD                          1700 BEAVER GRADE ROAD                  546 WENDEL ROAD
MCMURRAY PA 15317                        SUITE 300                               IRWIN PA 15642
                                         MOON TWP PA 15108




WEISS BURKARD KRAMER LLC                 MOON AREA SCHOOL DISTRICT
TAX COLLECTION DEPARTMENT                8353 UNIVERSITY BLVD
445 FORT PITT BLVD STE 503               MOON TOWNSHHIP PA 15108
PITTSBURGH PA 15219
             Case 19-20543-GLT           Doc 45    Filed 08/16/19 Entered 08/16/19 11:45:01           Desc Main
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(p)SPRINT NEXTEL CORRESPONDENCE              Brunswick Hills OB/GYN              Capital One
ATTN BANKRUPTCY DEPT                         620 Cranbury Rd #90                 Attn: Bankruptcy
PO BOX 7949                                  East Brunswick, NJ 08816-4000       Po Box 30285
OVERLAND PARK KS 66207-0949                                                      Salt Lake City, UT 84130-0285




Capital One Auto Finance                     Comcast                             Diversified Adjustment Swervices, Inc
Attn: Bankruptcy                             PO Box 719                          Dasi-Bankrupcty
Po Box 30285                                 Toledo, OH 43697-0719               Re: Sprint
Salt Lake City, UT 84130-0285                                                    Po Box 32145
                                                                                 Fridley, MN 55432-0145


Jessica L. Jelley                            Jonathan L. Perez                   Mariner Finance
43 Howard Avenue                             801 Gadeck Place                    8211 Town Center Dr
Edison, NJ 08837-3433                        Perth Amboy, NJ 08861-2909          Nottingham, MD 21236-5904




Nationstar Mortgage LLC dba Mr. Cooper       Pacific Union Financial             Paypal
Attn: Bankruptcy                             Attn: Bankruptcy                    PO box 5018
350 Highland Dr                              1603 Lbj Freeway, Suite 500         Port Deposit, MD 21904
Lewisville, TX 75067-4177                    Farmers Branch, TX 75234-6071




Pennsylvania Dept. of Revenue                Preferred Credit Inc                Santander Consumer USA
Department 280946                            Po Box 1970                         Attn: Bankruptcy
P.O. Box 280946                              St Cloud, MN 56302-1970             Po Box 961245
ATTN: BANKRUPTCY DIVISION                                                        Fort Worth, TX 76161-0244
Harrisburg, PA 17128-0946


SaVit Collection Agency                      Southwest Credit Systems            Synchrony Bank/Amazon
Attn: Bankruptcy                             Re: Comcast                         Attn: Bankruptcy Dept
Re: Brunswick Hills Ob-Gyn                   4120 International Parkway          Po Box 965060
Po Box 250                                   Suite 1100                          Orlando, FL 32896-5060
East Brunswick, NJ 08816-0250                Carrollton, TX 75007-1958


Synchrony Bank/Walmart
Po Box 965024
Orlando, FL 32896-5024
